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 5   Attorney for ADALBERTO VALENZUELA-RUIZ
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                      Case No.: 14-239 GEB

11                    Plaintiff,                    STIPULATION AND ORDER
12                                                  VACATING DATE AND CONTINUING
                vs.                                 CASE
13
14   ADALBERTO VALENZUELA-RUIZ,                     DATE: December 1, 2017
                                                    TIME: 9:00 a.m.
15                    Defendants.                   JUDGE: Hon. Garland E. Burrell, Jr.
16
17
18   IT IS HEREBY STIPULATED by and between Assistant United States Attorney Jill

19   Thomas, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for

20   Defendant ADALBERTO VALENZUELA-RUIZ, that the sentencing hearing scheduled

21   for December 1, 2017, at 9:00 a.m., be vacated and the matter continued to this Court’s

22   criminal calendar on January 5, 2018, at 9:00 a.m. for judgment and sentencing. Defense

23   counsel is currently researching matters that Mr. Valenzuela-Ruiz has brought up, which

24   require resolution prior to sentencing. After consulting with the court regarding

25   availability, the parties propose the following briefing schedule:

26   Objections to Pre-Sentence Report: 12/1/17

27   Final PSR due: 12/8/17

28   Motion for Correction: 12/22/17




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 1   Reply, or Non-Opposition: 12/29/17
 2   J&S: 1/5/18
 3
 4
 5   DATED:         November 2, 2017          /S/   Jill Thomas
                                              PHILIP A. TALBERT
 6                                            by JILL THOMAS
 7                                            Attorney for Plaintiff
 8
 9                                            /S/   Clemente M. Jiménez
                                              CLEMENTE M. JIMÉNEZ
10                                            Attorney for ADALBERTO VALENZUELA-
11                                            RUIZ

12
13
                                             ORDER
14
15   IT IS SO ORDERED, that the sentencing hearing in the above-entitled matter, scheduled

16   for December 1, 2017, at 9:00 a.m., be vacated and the matter continued to January 5,

17   2018, at 9:00 a.m. for judgment and sentencing.

18   Dated: November 2, 2017

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     11/02/17
